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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION                                    SEP 112024
                                                                                  cLE   U S.   bi1   Cou



MARK ANTHONY ORTEGA
                              Plaintiff,
                                                        Case No. SA-24-CV-00768-JKP-HJB
              V.



ELITE LIVING REALTY, LLC


                              Defendant.


                                                               ENTRY OF DEFAULT
              PLAINTIFF'S MOTION FOR CLERK'S

                                                         requests that the Clerk of Court enter default
        Plaintiff, Mark Anthony Ortega ("Plaintiff),
                                                ("EL Realty"), pursuant to Federal Rule of Civil
 against Defendant Elite Living Realty, LLC
                                                Plaintiff states the following:
 Procedure 55(a). In support of this request,
                                              SUMMARY

                                                                      that EL Realty was properly
                   The proof of service (ECF No. 6) demonstrates
                                           Complaint      (ECF No. 1) in this case on July 23, 2024.
 served with a copy of Plaintiffs Original
                                                                     since the date of service of process,
         2.        More than twenty-one (21) days have elapsed
                                                                                                     Rule
                                                    or otherwise defend as required by Federal
  and EL Realty has failed to answer, challenge,
                                                          by the record in this action and by the
  of Civil Procedure 12(a)(1)(A) and as demonstrated
                                                ECF No. 8.
  Declaration of Mark Anthony Ortega. See
                                             BACKGROUND

                                                                     Complaint (ECF No. 1) against EL
                    On July 15, 2024, Plaintiff filed his Original
                                                for violations of the Telephone Consumer Protection
  Realty in this suit seeking monetary relief
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 Act ("TCPA"), 47 U.S.C. § 227 et seq., and the Texas Business and Commercial Code,
                                                                                               Chapter
 302.

         4.      Plaintiff properly served EL Realty with the Complaint and Summons on July 23,

 2024 (ECF No. 6).

         5.     EL Realty has not appeared in this action.

                               ARGUMENTS AND AUTHORITIES

         6.     The Clerk of Court must enter a default against a party who has not filed a

 responsive pleading or otherwise defended the suit. Fed. R. Civ. P. 55(a); see N.Y Lfe Ins. Co.

Brown, 84 F.3d 137, 141 (5th Cir. 1996).

         7.     The Clerk should enter a default against EL Realty because it did not file a

responsive pleading within 21 days of service. Fed. R. Civ. P. 12(a)(1)(A)(i); Fed. R. Civ. P. 6(d);

see Fed. R. Civ. P. 55(a).


         8.     The Clerk should enter a default against El Realty because it did not otherwise

defend the suit. Fed. R. Civ. P. 5 5(a).

         9.     Because El Realty did not file a responsive pleading or otherwise defend the suit,

it is not entitled to notice of entry of default. See Fed. R. Civ. P. 5(a)(2); New York L1fe Ins.
                                                                                                    Co. v.

Brown, 84 F.3d 137, 141-42 (5th Cir. 1996).

         10.   Plaintiff is therefore, entitled to entry of default against El Realty because it has

failed to file an answer to the Original Complaint or any other responsive pleadings. This
                                                                                                entry
of default is authorized by Rule 55 of the Federal Rules of Civil Procedure.

                                              PRAYER
        For the foregoing reasons, Plaintiffs respectfully request the Clerk of Court to enter a

default against Defendant El Realty in this matter.




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 Dated: September 8, 2024                              Respectfully submitted,

                                                       Mark Anthony Ortega


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                                                       P0 Box 702099
                                                                              ''
                                                       San Antonio, TX 78270
                                                       Telephone: (210) 744-9663




                                 CERTIFICATE OF SERVICE
I hereby certify that on September 8, 2024, I mailed the foregoing via first class mail for
traditionally filing with the clerk of court for the U.S. District Court, Western District of Texas,
and served a true and correct copy of this document on the parties and/or attorneys of record via
email to infoelitelivingrealty.com and via first class mail to Defendant at the following
address:

DFW Elite Living, LLC
clot Elite Living Realty, LLC
13155 Noel Rd #900
Dallas, TX 75240




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